1                                                                Honorable Barbara J. Rothstein

2

3

4

5

6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7                                      AT SEATTLE

8     LARISA SOPKA, an individual; DANIELA
      SOPKA, an individual; and TATYANA              No. 2:24-cv-00011-BJR
9     SOPKA, an individual,
                                Plaintiffs,          STIPULATED PROTECTIVE ORDER
10
             v.
11
      SOUTHCENTER OWNER LLC, a
12    Delaware limited liability company doing
      business in the State of Washington; THE
13    CHEESECAKE FACTORY
      RESTAURANTS, INC., a California
14    corporation doing business in the State of
      Washington; UNIVERSAL PROTECTION
15    SERVICE, LP d/b/a ALLIED UNIVERSAL
      SECURITY SERVICES, a for-profit
16    foreign limited partnership; JOHN AND
      JANE DOES 1-5, individuals or entities,
17
                                   Defendants.
18

19   1.     PURPOSES AND LIMITATIONS

20          Discovery in this action is likely to involve production of confidential, proprietary,

21   or private information for which special protection may be warranted. Accordingly, the

22   parties hereby stipulate to and petition the court to enter the following Stipulated

23   Protective Order. The parties acknowledge that this agreement is consistent with LCR

                                                             SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                              400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 1
                                                              BAINBRIDGE ISLAND, WA 98110
                                                                     (206) 502-2510
1    26(c). It does not confer blanket protection on all disclosures or responses to discovery,

2    the protection it affords from public disclosure and use extends only to the limited

3    information or items that are entitled to confidential treatment under the applicable legal

4    principles, and it does not presumptively entitle parties to file confidential information

5    under seal.

6    2.     “CONFIDENTIAL” MATERIAL

7           “Confidential” material shall include the following documents and tangible things

8    produced or otherwise exchanged: medical records; educational records; employment

9    records; portions of contracts and leases related to the Westfield Southcenter Mall or

10   the Cheesecake Factory that contain confidential commercial pricing information,

11   commercially sensitive negotiated terms, the identities and contact information of

12   individuals therein, including guarantors, security plans, or surveillance system

13   operations; the identities, phone numbers, addresses, Social Security numbers, and

14   license numbers of third-party victims or alleged victims involved in previous incidents,

15   provided the document is not a public record such as a police report; documents

16   depicting Westfield Southcenter Mall’s security operations center or its location or

17   ingress/egress routes; documents discussing or identifying the adequacy of security or

18   security vulnerabilities at the Westfield Southcenter Mall or the Cheesecake Factory;

19   documents discussing or evidencing policies and procedures for security operations at

20   Westfield Southcenter Mall or the Cheesecake Factory, including but not limited to: post

21   orders, schedules, assignments, daily-activity reports, HeliAUS records, and customer

22   information; surveillance footage; and Universal Protection Service’s proprietary training

23   and policy materials.

                                                             SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                              400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 2
                                                              BAINBRIDGE ISLAND, WA 98110
                                                                     (206) 502-2510
1    3.      SCOPE

2            The protections conferred by this agreement cover not only confidential material

3    (as defined above), but also (1) any information copied or extracted from confidential

4    material; (2) all copies, excerpts, summaries, or compilations of confidential material;

5    and (3) any testimony, conversations, or presentations by parties or their counsel that

6    might reveal confidential material.

7            However, the protections conferred by this agreement do not cover information

8    that is in the public domain or becomes part of the public domain through trial or

9    otherwise.

10   4.      ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

11           4.1        Basic Principles. A receiving party may use confidential material that is

12   disclosed or produced by another party or by a non-party in connection with this case

13   only for prosecuting, defending, or attempting to settle this litigation. Confidential

14   material may be disclosed only to the categories of persons and under the conditions

15   described in this agreement. Confidential material must be stored and maintained by a

16   receiving party at a location and in a secure manner that ensures that access is limited

17   to the persons authorized under this agreement.

18           4.2        Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

19   ordered by the court or permitted in writing by the designating party, a receiving party

20   may disclose any confidential material only to:

21                      (a)    the receiving party’s counsel of record in this action, as well as

22   employees of counsel to whom it is reasonably necessary to disclose the information for

23   this litigation;

                                                                 SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                                  400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 3
                                                                  BAINBRIDGE ISLAND, WA 98110
                                                                         (206) 502-2510
1                  (b)     the officers, directors, and employees (including in house counsel)

2    of the receiving party to whom disclosure is reasonably necessary for this litigation,

3    unless the parties agree that a particular document or material produced is for

4    Attorney’s Eyes Only and is so designated;

5                  (c)     experts and consultants to whom disclosure is reasonably

6    necessary for this litigation and who have signed the “Acknowledgment and Agreement

7    to Be Bound” (Exhibit A);

8                  (d)     the court, court personnel, and court reporters and their staff;

9                  (e)     copy or imaging services retained by counsel to assist in the

10   duplication of confidential material, provided that counsel for the party retaining the copy

11   or imaging service instructs the service not to disclose any confidential material to third

12   parties and to immediately return all originals and copies of any confidential material;

13                 (f)     during their depositions, witnesses in the action to whom disclosure

14   is reasonably necessary and who have signed the “Acknowledgment and Agreement to

15   Be Bound” (Exhibit A), unless otherwise agreed by the designating party or ordered by

16   the court. Pages of transcribed deposition testimony or exhibits to depositions that

17   reveal confidential material must be separately bound by the court reporter and may not

18   be disclosed to anyone except as permitted under this agreement;

19                 (g)     the author or recipient of a document containing the information or

20   a custodian or other person who otherwise possessed or knew the information.

21          4.3    Filing Confidential Material. Before filing confidential material or discussing

22   or referencing such material in court filings, the filing party shall confer with the

23   designating party, in accordance with Local Civil Rule 5(g)(3)(A), to determine whether

                                                              SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                               400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 4
                                                               BAINBRIDGE ISLAND, WA 98110
                                                                      (206) 502-2510
1    the designating party will remove the confidential designation, whether the document

2    can be redacted, or whether a motion to seal or stipulation and proposed order is

3    warranted. During the meet and confer process, the designating party must identify the

4    basis for sealing the specific confidential information at issue, and the filing party shall

5    include this basis in its motion to seal, along with any objection to sealing the

6    information at issue. Local Civil Rule 5(g) sets forth the procedures that must be

7    followed and the standards that will be applied when a party seeks permission from the

8    court to file material under seal. A party who seeks to maintain the confidentiality of its

9    information must satisfy the requirements of Local Civil Rule 5(g)(3)(B), even if it is not

10   the party filing the motion to seal. Failure to satisfy this requirement will result in the

11   motion to seal being denied, in accordance with the strong presumption of public access

12   to the Court’s files.

13   5.     DESIGNATING PROTECTED MATERIAL

14          5.1     Exercise of Restraint and Care in Designating Material for Protection.

15   Each party or non-party that designates information or items for protection under this

16   agreement must take care to limit any such designation to specific material that qualifies

17   under the appropriate standards. The designating party must designate for protection

18   only those parts of material, documents, items, or oral or written communications that

19   qualify, so that other portions of the material, documents, items, or communications for

20   which protection is not warranted are not swept unjustifiably within the ambit of this

21   agreement.

22          Mass, indiscriminate, or routinized designations are prohibited. Designations that

23   are shown to be clearly unjustified or that have been made for an improper purpose

                                                              SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                               400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 5
                                                               BAINBRIDGE ISLAND, WA 98110
                                                                      (206) 502-2510
1    (e.g., to unnecessarily encumber or delay the case development process or to impose

2    unnecessary expenses and burdens on other parties) expose the designating party to

3    sanctions.

4           If it comes to a designating party’s attention that information or items that it

5    designated for protection do not qualify for protection, the designating party must

6    promptly notify all other parties that it is withdrawing the mistaken designation.

7           5.2     Manner and Timing of Designations. Except as otherwise provided in this

8    agreement (see, e.g., second paragraph of section 5.2(b) below), or as otherwise

9    stipulated or ordered, disclosure or discovery material that qualifies for protection under

10   this agreement must be clearly so designated before or when the material is disclosed

11   or produced.

12                  (a)   Information in documentary form: (e.g., paper or electronic

13   documents and deposition exhibits, but excluding transcripts of depositions or other

14   pretrial or trial proceedings), the designating party must affix the word “CONFIDENTIAL”

15   to each page that contains confidential material. If only a portion or portions of the

16   material on a page qualifies for protection, the producing party also must clearly identify

17   the protected portion(s) (e.g., by making appropriate markings in the margins).

18                  (b)   Testimony given in deposition or in other pretrial proceedings: the

19   parties and any participating non-parties must identify on the record, during the

20   deposition or other pretrial proceeding, all protected testimony, without prejudice to their

21   right to so designate other testimony after reviewing the transcript. Any party or non-

22   party may, within fifteen days after receiving the transcript of the deposition or other

23   pretrial proceeding, designate portions of the transcript, or exhibits thereto, as

                                                             SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                              400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 6
                                                              BAINBRIDGE ISLAND, WA 98110
                                                                     (206) 502-2510
1    confidential. If a party or non-party desires to protect confidential information at trial, the

2    issue should be addressed during the pre-trial conference.

3                  (c)       Other tangible items: the producing party must affix in a prominent

4    place on the exterior of the container or containers in which the information or item is

5    stored the word “CONFIDENTIAL.” If only a portion or portions of the information or item

6    warrant protection, the producing party, to the extent practicable, shall identify the

7    protected portion(s).

8           5.3    Inadvertent Failures to Designate. If timely corrected, an inadvertent

9    failure to designate qualified information or items does not, standing alone, waive the

10   designating party’s right to secure protection under this agreement for such material.

11   Upon timely correction of a designation, the receiving party must make reasonable

12   efforts to ensure that the material is treated in accordance with the provisions of this

13   agreement.

14   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

15          6.1    Timing of Challenges. Any party or non-party may challenge a designation

16   of confidentiality at any time. Unless a prompt challenge to a designating party’s

17   confidentiality designation is necessary to avoid foreseeable, substantial unfairness,

18   unnecessary economic burdens, or a significant disruption or delay of the litigation, a

19   party does not waive its right to challenge a confidentiality designation by electing not to

20   mount a challenge promptly after the original designation is disclosed.

21          6.2    Meet and Confer. The parties must make every attempt to resolve any

22   dispute regarding confidential designations without court involvement. Any motion

23   regarding confidential designations or for a protective order must include a certification,

                                                              SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                               400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 7
                                                               BAINBRIDGE ISLAND, WA 98110
                                                                      (206) 502-2510
1    in the motion or in a declaration or affidavit, that the movant has engaged in a good faith

2    meet and confer conference with other affected parties in an effort to resolve the dispute

3    without court action. The certification must list the date, manner, and participants to the

4    conference. A good faith effort to confer requires a face-to-face meeting or a telephone

5    conference.

6           6.3    Judicial Intervention. If the parties cannot resolve a challenge without

7    court intervention, the designating party may file and serve a motion to retain

8    confidentiality under Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if

9    applicable). The burden of persuasion in any such motion shall be on the designating

10   party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or

11   impose unnecessary expenses and burdens on other parties) may expose the

12   challenging party to sanctions. All parties shall continue to maintain the material in

13   question as confidential until the court rules on the challenge.

14   7.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
            OTHER LITIGATION
15
            If a party is served with a subpoena or a court order issued in other litigation that
16
     compels disclosure of any information or items designated in this action as
17
     “CONFIDENTIAL,” that party must:
18
                   (a)    promptly notify the designating party in writing and include a copy
19
     of the subpoena or court order;
20
                   (b)    promptly notify in writing the party who caused the subpoena or
21
     order to issue in the other litigation that some or all of the material covered by the
22
     subpoena or order is subject to this agreement. Such notification shall include a copy of
23

                                                            SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                             400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 8
                                                             BAINBRIDGE ISLAND, WA 98110
                                                                    (206) 502-2510
1    this agreement; and

2                  (c)     cooperate with respect to all reasonable procedures sought to be

3    pursued by the designating party whose confidential material may be affected.

4    8.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

5           If a receiving party learns that, by inadvertence or otherwise, it has disclosed

6    confidential material to any person or in any circumstance not authorized under this

7    agreement, the receiving party must immediately (a) notify in writing the designating

8    party of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized

9    copies of the protected material, (c) inform the person or persons to whom unauthorized

10   disclosures were made of all the terms of this agreement, and (d) request that such

11   person or persons execute the “Acknowledgment and Agreement to Be Bound” that is

12   attached hereto as Exhibit A.

13   9.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
            PROTECTED MATERIAL
14
            When a producing party gives notice to receiving parties that certain
15
     inadvertently produced material is subject to a claim of privilege or other protection, the
16
     obligations of the receiving parties are those set forth in Federal Rule of Civil Procedure
17
     26(b)(5)(B). This provision is not intended to modify whatever procedure may be
18
     established in an e-discovery order or agreement that provides for production without
19
     prior privilege review. The parties agree to the entry of a non-waiver order under Fed. R.
20
     Evid. 502(d) as set forth herein.
21
     10.    NON TERMINATION AND RETURN OF DOCUMENTS
22
            Within 60 days after the termination of this action, including all appeals, each
23

                                                            SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                             400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 9
                                                             BAINBRIDGE ISLAND, WA 98110
                                                                    (206) 502-2510
1    receiving party must delete or destroy all confidential material that was disclosed or

2    produced by another party or by a nonparty in connection with this case, including all

3    copies, extracts and summaries thereof.

4           Notwithstanding this provision, counsel are entitled to retain one archival copy of

5    all documents filed with the court, trial, deposition, and hearing transcripts,

6    correspondence, deposition and trial exhibits, expert reports, attorney work product, and

7    consultant and expert work product, even if such materials contain confidential material.

8           The confidentiality obligations imposed by this agreement shall remain in effect

9    until a designating party agrees otherwise in writing or a court orders otherwise.

10
                  IT IS SO STIPULATED; THROUGH COUNSEL OF RECORD.
11
      SEAMARK LAW GROUP PLLC                         PFAU COCHRAN VERTETIS AMALA
12    Attorneys for Universal Protection             Co-Counsel for Plaintiffs
      Service, LP
13                                                   s/Kevin Hastings*
      s/Geoff Grindeland                             Darrell Cochran, WSBA No. 22851
14    Geoff Grindeland, WSBA No. 35798               Kevin Hastings, WSBA No. 42316
      Nikki Carsley, WSBA No. 46650                  Nicholas Gillan, WSBA No. 61555
15                                                   *Per 11/27/2024 e-mail

16                                                   PREMIER LAW GROUP
                                                     Co-Counsel for Plaintiffs
17                                                   Jason Epstein, WSBA No. 31779

18
      WOOD SMITH HENNING & BERMAN                   CHOCK BARHOUM
19    Attorneys for Southcenter Owner LLC           Attorneys for The Cheesecake Factory
                                                    Restaurants, Inc.
20    s/Colin Troy**
      Timothy Shea, WSBA No. 39631                   s/Sarah Tuthill-Kveton***
21    Colin Troy, WSBA No. 46197                     John Barhoum, WSBA No. 42776
      Ariana Morello, WSBA No. 56937                 Sarah Tuthill-Kveton, WSBA No. 51801
22    **Per 11/27/2024 e-mail                        Ellen Rall, WSBA No. 56945
                                                     ***Per 12/04/2024 e-mail
23

                                                             SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                              400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 10
                                                              BAINBRIDGE ISLAND, WA 98110
                                                                     (206) 502-2510
1                         PURSUANT TO STIPULATION, IT IS SO ORDERED

2           IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production

3    of any documents, electronically stored information (ESI) or information, whether

4    inadvertent or otherwise, in this proceeding shall not, for the purposes of this

5    proceeding or any other federal or state proceeding, constitute a waiver by the

6    producing party of any privilege applicable to those documents, including the attorney-

7    client privilege, attorney work-product protection, or any other privilege or protection

8    recognized by law. This Order shall be interpreted to provide the maximum protection

9    allowed by Fed. R. Evid. 502(d). The provisions of Fed. R. Evid. 502(b) do not apply.

10   Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a

11   review of documents, ESI or information (including metadata) for relevance,

12   responsiveness and/or segregation of privileged and/or protected information before

13   production. Information produced in discovery that is protected as privileged or work

14   product shall be immediately returned to the producing party.

15          DATED: 9th of December 2024

16

17
                                               A
                                               Hon. Barbara J. Rothstein
18                                             United States District Judge

19

20

21

22

23

                                                            SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                             400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 11
                                                             BAINBRIDGE ISLAND, WA 98110
                                                                    (206) 502-2510
1                                              EXHIBIT A

2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

3            I, ____________________________________ [print or type full name], of

4    ___________________________________ [print or type full address], declare under

5    penalty of perjury that I have read in its entirety and understand the Stipulated

6    Protective Order that was issued by the United States District Court for the Western

7    District of Washington on [date] in the case of Sopka v. Southcenter Owner LLC (W.D.

8    Wash. No. 2:24-cv-00011-BJR). I agree to comply with and to be bound by all the terms

9    of this Stipulated Protective Order and I understand and acknowledge that failure to so

10   comply could expose me to sanctions and punishment in the nature of contempt. I

11   solemnly promise that I will not disclose in any manner any information or item that is

12   subject to this Stipulated Protective Order to any person or entity except in strict

13   compliance with the provisions of this Order.

14           I further agree to submit to the jurisdiction of the United States District Court for

15   the Western District of Washington for the purpose of enforcing the terms of this

16   Stipulated Protective Order, even if such enforcement proceedings occur after

17   termination of this action.

18
     Date:
19   City and State where sworn and signed:
20   Printed name:

21   Signature:

22

23

                                                              SEAMARK LAW GROUP PLLC
      STIPULATED PROTECTIVE ORDER
                                                               400 WINSLOW WAY E, STE 230
      (No. 2:24-cv-00011-BJR) - 12
                                                               BAINBRIDGE ISLAND, WA 98110
                                                                      (206) 502-2510
